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                            Exhibit 14.19
                    United States’ Motion to Enter Consent Decree,
        United States v. Alden Leeds, Inc. et al., Civil Action No. 22-7326 (D.N.J.)
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                  EXHIBIT A-61
          AppendixA to OxyChem's Comments in Opposition to Proposed Consent Decree,
           United States v. Alden Leeds, Inc., et al., Civil Action No. 2:22-cv-07326 (D.Nj.)




                                                                                            ALCD-PUBCOM 0007053
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                                   Thomas Stilley


         1            UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
         2                  NEWARK VICINAGE
         3                               -   -    -

             OCCIDENTAL CHEMICAL                      :CASE NO.
         4   CORPORATION                              :2:18-cv-11273
                    Plaintiff
         5

                        V.
         6

             21ST CENTURY FOX
         7   AMERICA, INC., et al.
                    Defendants and
         8          Third-Party
                    Plaintiffs
         9

                        V.
        10

             PASSAIC VALLEY SEWERAGE
        11   COMMISSIONERS, et al.
                    Third-Party
        12          Defendants.
        13


        14

                                September 1, 2022
        15


        16
        17                Oral deposition of THOMAS
             STILLEY, taken pursuant to notice, was
        18   held at the law offices of BALLARD SPAHR,
             LLP, 1735 Market Street, 51st Floor,
        19   Philadelphia, Pennsylvania, commencing at
             9:17 a.m., on the above date, before
        20   Emily Andreasen, a Court Reporter and
             Notary Public for the Commonwealth of
        21   Pennsylvania.
        22


        23             GOLKOW LITIGATION SERVICES
                    877.370.3377 ph 917.591.5672 fax
        24                   deps@golkow.com


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                                   Thomas Stilley


         1   present on the site?
         2              A.        Not specifically, no.                I do

         3   not know, you know, where it was or what

         4   form it was.

         5              Q.        And do you know why
         6   Pitt-Consol listed zinc in this section?
         7              A.        Based on my review of the

         8   documents, no.            I did not see specific

         9   references to zinc in the production.
        10              Q.        And why are polychlorinated
        11   biphenyls or PCBs listed in this section?
        12                        MR. HAWORTH:          Objection.
        13                        THE WITNESS:          My sense is
        14              that they were, you know, present
        15              on the site because of their use
        16              and in heat transfer from what
        17              I've been able to gather from the
        18              document review.
        19   BY MR. STEPHENS:
        20              Q.        And why was
        21   1,1,1-trichloroethane listed on this
        22   section?
        23              A.        From looking at the
        24   document, it appears to be listed on



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                                   Thomas Stilley


         1   page 4198 and it -- based on looking at
         2   this document, it looks like it was used
         3   in the maintenance shop as a degreaser.
         4              Q.        Well, we're jumping ahead,
         5   but let's talk about that for a moment.
         6                        In -- so now we're on
         7   page 814198.           This page deals exclusively
         8   with the use of 1,1,1-trichloroethane at
         9   the site, correct?
        10              A.        It -- I don't know if it
        11   exclusively deals with it, but it appears
        12   to be dealing with the use since that's
        13   what they're covering on this page as the
        14   selected substance.
        15              Q.        And it says in Box Number 5
        16   a consult brought 650 pounds of
        17   1,1,1-trichloroethane onto the site in
        18   the year for which they're reporting
        19   here; is that accurate?
        20              A.        That's --
        21                        MR. HAWORTH:          Objection to
        22              form.
        23                        THE WITNESS:          That's what
        24              the document states.



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                                   Thomas Stilley


         1   BY MR. STEPHENS:
         2              Q.        Do you know how that
         3   1,1,1-trichloroethane was stored on the
         4   Doremus site?
         5              A.        I do not.         Not specifically.
         6              Q.        I want to look at Section 13
         7   on this, disposal of waste containing the
         8   selected substance.
         9                        And the physical state of
        10   the substance as a waste is W-02, which
        11   corresponds to a liquid waste.                     And under
        12   the quantity of selected substance
        13   disposed, it says 550 pounds and then a
        14   parenthetical, "Burned in boilers for
        15   heat recovery."
        16                        Did I read that correctly?
        17              A.        Yes, you did.
        18              Q.        So Pitt-Consol burned
        19   1,1,1-trichloroethane for heat?
        20              A.        That's what this document
        21   appears to state.
        22              Q.        Do you have any information
        23   that would disagree with this document?
        24              A.        Not that I'm aware of, no.



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                                   Thomas Stilley


         1              Q.        Do you know what happened to
         2   the waste ash or residuals after the
         3   1,1,1-trichloroethane was burned?
         4              A.        I don't know what byproducts
         5   are created after 1,1,1-trichloroethane
         6   burns.       I don't know.
         7              Q.        Let's just move back a
         8   little bit to -- back one page to Bates
         9   stamp 814197.
        10              A.        Okay.
        11              Q.        And this page deals with
        12   polychlorinated biphenyls, correct?
        13              A.        Yes.
        14              Q.        And its described use on the
        15   site is, "2,140 pounds of
        16   PCB-contaminated oils present in one of
        17   the plant transformers."
        18                        Did I read that correctly?
        19              A.        Yes, you did.
        20                        And so as of 1980,
                        Q.
        21   Pitt-Consol had 2,140 pounds of PCBs on
        22   the property, correct?
        23                        MR. HAWORTH:          Objection to
        24              the form.



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                                   Thomas Stilley


         1                          CERTIFICATION
         2

         3

         4

         5


         6              I, Emily Andreasen, certify that
         7   the witness was duly sworn by me and that
         8   the deposition is a true and accurate
         9   record of the testimony given by the
        10   witness.
        11

        12

        13

        14

        15              Emily Andreasen
                         Court Reporter and Notary Public
        16              Dated:
        17

        18

        19


        20   (The foregoing certification of this
        21   transcript does not apply to any
        22   reproduction of the same by any means,
        23   unless under the direct control and/or
        24   supervision of the certifying reporter.)



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